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 1                                UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 ANTONIO CASTANEDA,                                       Case No. 2:22-cv-01868-APG-NJK

 4                   Plaintiff,                         ORDER ACCEPTING REPORT AND
     v.                                                RECOMMENDATION AND DENYING
 5                                                       APPLICATION TO PROCEED IN
     J. TIMOTHY FATTIG, et al.,                               FORMA PAUPERIS
 6                  Defendants.                                        [ECF Nos. 6, 7]
 7

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 9         On January 6, 2023, Magistrate Judge Koppe recommended I deny plaintiff Antonio

10 Castaneda’s renewed application to proceed in forma pauperis. ECF No. 7. Castaneda objected.

11 ECF No. 8.

12         I have conducted a de novo review of the issues under Local Rule IB 3-2. Castaneda’s

13 objection does not rebut Judge Koppe’s findings or conclusions, or offer any reason why I should

14 not accept her recommendation. Judge Koppe’s Report and Recommendation sets forth the

15 proper legal analysis and the factual basis for the decision, and I accept and adopt it as my own.

16         I THEREFORE ORDER that the Report and Recommendation (ECF No. 7) is accepted,

17 and Castaneda application to proceed in forma pauperis (ECF No. 6) is denied. Castaneda must

18 pay the full filing fee of $402 before this case proceeds further. If Castaneda does not pay that

19 fee by April 7, 2023, I will dismiss this case without prejudice.

20         DATED THIS 3rd day of March, 2023.

21
                                                         UNITED STATES DISTRICT JUDGE
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